Case 3:21-cv-01560-TWR-RBB Document 64 Filed 06/06/22 PageID.260 Page 1 of 3



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 18
 19                          UNITED STATES DISTRICT COURT
 20                     SOUTHERN DISTRICT OF CALIFORNIA
 21 JEFFERY R. WERNER,                      Case No. 21cv1560-TWR(RBB)
 22             Plaintiff,                  JOINT MOTION TO RESET DATE
                                            OF SETTLEMENT CONFERENCE
 23        v.
                                            Referred to Magistrate Judge Ruben B.
 24 HIVE MEDIA GROUP, LLC,                  Brooks
 25             Defendant.
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 27
 28
                                                     Case No. 21cv01560-TWR(RBB)
                JOINT MOTION TO EXTEND SETTLEMENT CONFERENCE DATE
Case 3:21-cv-01560-TWR-RBB Document 64 Filed 06/06/22 PageID.261 Page 2 of 3



  1         Plaintiff Jeffrey R. Werner and Defendant Hive Media Group, LLC, by and
  2 through their respective undersigned counsel, jointly move under Southern District
  3 of California Rule 7.2 and Magistrate Judge Ruben B. Brooks’s Chambers Rules to
  4 request that the Court extend the date of the settlement conference currently set for
  5 June 14, 2022.
  6         This request is based on the following facts:
  7         1.    The Court held an attorneys-only settlement conference on January 26,
  8 2022, at which a full settlement conference was set for June 14, 2022. (ECF 40.) At
  9 the January hearing, the Court encouraged the parties to inform the Court if they
 10 later concluded that the settlement conference should be moved to better facilitate
 11 settlement.
 12         2.    The parties have conferred and agree that the settlement conference
 13 would be more productive after the parties have exchanged and have had the
 14 opportunity to evaluate each other’s expert witness reports.
 15         3.    Under the current schedule, Rule 26(a)(2)(A) and (B) disclosures are
 16 due August 19, and Rule 26(a)(2)(D) disclosures are due September 2.
 17         Based on the foregoing, the parties now jointly request that the Court extend
 18 the Settlement Conference date to September 6 or 7, 2022, at 8:30 a.m., at the
 19 Court’s convenience, with the deadline to submit settlement conference briefs to be
 20 set by the Court. No other changes to the existing dates or deadlines is requested.
 21                           [SIGNATURES ON NEXT PAGE]
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                                           2           Case No. 21cv01560-TWR(RBB)
                  JOINT MOTION TO EXTEND SETTLEMENT CONFERENCE DATE
Case 3:21-cv-01560-TWR-RBB Document 64 Filed 06/06/22 PageID.262 Page 3 of 3



  1 Dated: June 6, 2022                       Respectfully Submitted,
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  3
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                                              By:/s/ Peter Perkowski
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                                              By:/s/ Emily Evitt
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                                                 Gabriella A. Nourafchan
 11                                              J. Matthew Williams
                                                 Attorneys for Defendant
 12                                              Hive Media Group, LLC
 13
 14
                        ATTESTATION REGARDING SIGNATURES
 15
            The filer of this document attests that all other signatories listed, and on
 16
      whose behalf the filing is submitted, concur in this filing’s content and have
 17
      authorized its filing.
 18
 19                                               /s/ Peter Perkowski
                                                            Peter Perkowski
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                                           3           Case No. 21cv01560-TWR(RBB)
                  JOINT MOTION TO EXTEND SETTLEMENT CONFERENCE DATE
